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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LISA A. ABRAHAM, LISA CAVE,
SCOTT CAVE, LEE ANN KAMINSKI,
and MARK E. KAMINSKI, on behalf of
themselves and all others similarly
situated,
                                                Civil Action No. 5:14-cv-04977-JP
                       Plaintiffs,

v.

OCWEN LOAN SERVICING, LLC,

                       Defendant.


              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
           AS TO THE CLAIMS OF PLAINTIFFS LISA CAVE, SCOTT CAVE,
                  LEE ANN KAMINSKI, AND MARK E. KAMINSKI

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Lisa

Cave, Scott Cave, Lee Ann Kaminski, and Mark E. Kaminski (collectively, “Plaintiffs”) and

Defendant Ocwen Loan Servicing, LLC (“OLS”) (collectively, the “Parties”) hereby stipulate

and agree to DISMISS WITH PREJUDICE all claims alleged by the Plaintiffs against OLS in

the above-captioned action. The Parties further stipulate and agree to DISMISS WITHOUT

PREJUDICE, and without notice to the putative classes, each and all of the putative class claims

alleged by the Plaintiffs in the above-captioned action.

       This Joint Stipulation of Dismissal does not dismiss the individual claim of Plaintiff Lisa

A. Abraham.

       Each Party shall bear his, her, their, and its own costs and expenses, including attorneys’

fees, except as otherwise agreed to by the Parties, and each party hereby waives any and all

rights of appeal.
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Respectfully submitted,                Respectfully submitted,

PLAINTIFFS LISA CAVE, SCOTT            DEFENDANT OCWEN LOAN SERVICING,
CAVE, LEE ANN KAMINSKI AND             LLC,
MARK E. KAMINSKI
                                       By its attorneys,
By their attorneys,

/s/ Eric Lechtzin (w/permission)       /s/ Brian M. Forbes
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Eric Lechtzin                          Brian M. Forbes (admitted pro hac vice)
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Dated: October 18, 2018
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this 18th day of October, 2018, a true and
correct copy of the foregoing document was filed with the Clerk of the Court and served on all
counsel of record, including counsel for Plaintiffs (identified below), through the Court’s
CM/ECF filing system and the Notice of Electronic Filing generated thereby.

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       Attorneys for Plaintiffs


                                                 /s/ Brian M. Forbes
                                                 Brian M. Forbes
